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14                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16                                              CASE NO. 2:22-CV-1916-FWS-GJS
       ABDIRAHMAN ADEN KARIYE,
17     et al.,
18                                               DEFENDANTS’ RESPONSE TO
            Plaintiffs,                         PLAINTIFFS’ APPLICATION RE
19                                              SEALING PLAINTIFFS’ MOTION
20     v.                                        TO COMPEL PRODUCTION RE
                                                     LAW ENFORCEMENT
21     ALEJANDRO MAYORKAS,                              PRIVILEGE
22     Secretary of the U.S. Department of
       Homeland Security, in his official
23     capacity, et al.,
24
            Defendants.
25
26
27
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1                                     INTRODUCTION
2           Defendants seek to seal two narrow categories of information in the filings
3     related to Plaintiffs’ Motion to Compel Re: Law Enforcement Privilege, ECF No.
4     107-1: personal identifying information (PII) and a small portion of law-enforcement
5     sensitive information.
6           For the reasons given below, Defendants respectfully request that the Court
7     grant the pending application to file material under seal as to those discrete
8     categories of information.1 In accordance with Local Civil Rule 79-5.2.2(b)(i),
9     Defendants attach as Exhibit 1 a declaration establishing which material they have
10    designated as sealable and the reasons for their designations.
11                                   LEGAL STANDARD
12          “[C]ourts have recognized a ‘general right to inspect and copy public records
13    and documents, including judicial records and documents.’” Kamakana v. City &
14    Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner
15    Commc’ns, Inc., 435 U.S. 589, 597 & n.7 (1978)). So “[a] party seeking to seal a
16    judicial record then bears the burden of overcoming this strong presumption by
17    meeting the “compelling reasons” standard.” Id. However, the “‘good cause’
18    standard of Rule 26(c) will suffice] to warrant preserving the secrecy of sealed
19    discovery material attached to non-dispositive motions.” Id. at 1180 (cleaned up);
20    see also Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1099 (9th Cir.
21    2016) (describing the rule as asking “whether the motion at issue is more than
22    tangentially related to the underlying cause of action).
23
24
25    1
       As demonstrated in the attached declaration, Defendants no longer take the position
26    that all information in TECS Reports must be sealed. See ECF No. 107 at 5, Plfs’
      App. Re Sealing Plfs’ Mot. to Compel Production re the Law Enforcement Privilege
27
      (hereinafter “App.”).
                                                1
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1
2                                        ARGUMENT
3        A. The “Good Cause” Standard Applies to the Application to Seal
4           “There is no question that the pending motions to compel filed by [Plaintiffs]
5     are nondispositive in nature, implicating the lower ‘good cause’ standards of Rule
6     26(c)” with respect to the application to seal. Lantiq Deutschland GMBH v. Ralink
7     Tech. Corp., No. 11-00234 EJD, 2012 WL 12925103, at *1 (N.D. Cal. Mar. 26,
8     2012); see also Simplehuman, LLC v. iTouchless Housewares & Prods., Inc., No.
9     19-CV-2351-MWF (KSX), 2020 WL 6192012, at *2 (C.D. Cal. Feb. 20, 2020)
10    (same); Webb v. Cnty. of Stanislaus, No. 119CV01716DADEPG, 2021 WL
11    4523978, at *1 (E.D. Cal. Oct. 4, 2021) (same).
12          Plaintiffs suggest otherwise, arguing that “compelling reasons” are needed to
13    seal the information at issue. App. at 5-6. But Plaintiffs’ cited cases all applied the
14    “compelling reasons” standard because those cases concerned dispositive motions,
15    to which the “compelling reasons” standard applies. See Settrini v. City of San
16    Diego, 2022 WL 6785755, at *2 (S.D. Cal. Oct. 11, 2022) (motion for partial
17    summary judgment); Cheatum v. City of San Diego, 2019 WL 3817954, at *2 (S.D.
18    Cal. Aug. 14, 2019) (motion for summary judgment); Louis v. Cnty. of Ventura, 2023
19    WL 5505997, at *1 (C.D. Cal. June 9, 2023) (motion for summary judgment).
20    Plaintiffs cite no cases applying the “compelling reasons” standard to a motion to
21    compel.    And as noted above, documents attached to motions to compel are
22    evaluated under the “good cause” standard.
23          Plaintiffs, however, do argue that only “good cause” is needed to seal
24    Plaintiffs’ own PII because “[the PII] is ‘unrelated, or only tangentially related, to
25    the underlying cause of action.’” App. at 8 (quoting Louis, 2023 WL 5505997, at
26    *1). For the reasons given above, Defendants agree that the “good cause” standard
27    applies to that information. But which sealing standard applies (good cause or

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1     compelling reasons) does not depend on how the information to be sealed relates to
2     the case, but on how the motion the information was submitted to support relates to
3     the case. As the Ninth Circuit explained in Kamanaka, the public has less of a need
4     for access to documents attached to non-dispositive motions, thus the “good cause”
5     standard in Rule 26 suffices to keep such information under seal. See Kamakana,
6     447 F.3d at 1180 (“[W]e treat judicial records attached to dispositive motions
7     differently from records attached to non-dispositive motions.”); Ctr. for Auto Safety,
8     809 F.3d at 1099 (asking “whether the motion at issue is more than tangentially
9     related to the underlying cause of action”). All of the information that any of the
10    parties seek to seal here pertains to the same two motions to compel and thus the
11    good cause standard applies to all of the information sought to be filed under seal—
12    not just the information that Plaintiffs seek to file under seal.
13       B. Both Good Cause and Compelling Reasons Exist to Seal the PII of Non-
14          Plaintiffs, Including Low-Level Government Employees and Other
            Individuals
15
            Personal identifying information is a textbook example of material that may
16
      justifiably be sealed. Here, the parties agree that Plaintiffs’ PII and the PII of third
17
      parties should be sealed. See App. at 8-9. Despite Plaintiffs’ opposition, the PII of
18
      government employees mentioned in the records is no different.
19
            A long line of cases supports protecting the confidentiality of law-
20
      enforcement personnel’s identifying information to protect them from harassment,
21
      annoyance, or threats. See Lesar v. U.S. Dep't of Just., 636 F.2d 472, 487 (D.C. Cir.
22
      1980) (“As several courts have recognized, [FBI] agents have a legitimate interest
23
      in preserving the secrecy of matters that conceivably could subject them to
24
      annoyance or harassment in either their official or private lives.”); Creer v. City of
25
      Vallejo, No. 214CV1428JAMDBPS, 2016 WL 5897748, at *1 (E.D. Cal. Oct. 11,
26
      2016) (“Defendants shall redact the names of any Vallejo Police Department
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1     Officers and replace those names with number identifiers.”); Zhao v. City of New
2     York, No. 07 CIV. 3636 LAK/MHD, 2007 WL 4205856, at *2 (S.D.N.Y. Nov. 21,
3     2007) (“Defendants may redact the names and other identifying information of any
4     non-party Police Department employees, but not those of the complainants.”).
5           Here, disclosure of the law enforcement officers’ PII—their names—“creates
6     a safety threat and risks unwarranted attribution and attention to the employee.”
7     Declaration of Matthew Davies ¶ 7, Ex. 1. Indeed, “[t]hese risks are not merely
8     speculative, they have actually occurred to DHS employees and are real.” Id. ¶ 10;
9     see also id. ¶ 11 (“CBP employees, including CBP officers like the ones whose
10    names are at issue here, have been subject to harassment, discrimination, and have
11    received threats of physical harm solely because of their employment at CBP.”).
12          Under these circumstances, “Defendants have shown a compelling reason to
13    keep personal identifying information sealed.” Nightingale v. U.S. Citizenship &
14    Immigr. Servs., 507 F. Supp. 3d 1193, 1213 (N.D. Cal. 2020) (sealing information
15    including “the private contact information of ICE and USCIS employees”); see also
16    United States ex rel. 3729, LLC v. Express Scripts Holding Co., No. 19-CV-1199
17    TWR (WVG), 2023 WL 139313, at *1, *2 (S.D. Cal. Jan. 9, 2023) (finding that
18    “compelling reasons exist to file under seal” an exhibit containing “personal
19    identifying information for [U.S. Defense Health Agency] employees”).
20          Even if compelling reasons did not exist to seal the PII of the government
21    employees at issue, good cause would. See Kamakana, 447 F.3d at 1180 (noting
22    that under Fed. R. Civ. P. 26(c) good cause exists when required to “protect a party
23    or person from annoyance, embarrassment, oppression, or undue burden or
24    expense”).
25          Plaintiffs’ arguments to the contrary are unpersuasive. Here, in describing the
26    harm that the officers will face from disclosure, Defendants have provided more than
27    the “conclusory statements” that courts often reject. Id. at 1182. And Plaintiffs’

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1     suggestion that the government employees here have lost any right to privacy
2     because of their decision to seek government employment, App. at 11, defies
3     common sense and the case law. It is true that “high level officials have relatively
4     little privacy interest, and are of much greater public interest, than rank-and-file”
5     employees. Am. C.L. Union of N. California v. Drug Enf’t Admin., No. C 11-01997
6     RS, 2011 WL 13243729, at *12 (N.D. Cal. Oct. 28, 2011). But the employees at
7     issue here are the low-level, rank-and-file employees, and so their status as
8     government employees does not reduce the compelling reasons in avoiding
9     disclosure of their PII. See Voice of San Diego v. Naval Crim. Investigative Serv.,
10    753 F. Supp. 3d 1069, 1106 (S.D. Cal. 2024) (“The Ninth Circuit has recognized
11    that lower-level employees have stronger privacy interests than more senior
12    officials.”).
13       C. Both Good Cause and Compelling Reasons Exist to Seal the Limited
14          Law Enforcement Sensitive Information That Defendants Seek to Seal

15           Defendants also seek to seal a small amount of sensitive law enforcement
16    information in Exhibits 10 and 11 attached to Plaintiffs’ Motion to Compel re the
17    Law Enforcement Privilege. See ECF Nos. 108-10 and 108-11.
18           Courts have recognized that “compelling reasons” exist to seal sensitive law
19    enforcement information that would otherwise be disclosed in public filings. See
20    United States v. Aguilar-Chavez, No. 113-CR-00218, 2022 WL 4472625, at *1 (E.D.
21    Cal. Sept. 26, 2022) (compelling reason to seal exhibit that “contain[d] information
22    pertaining to law enforcement systems utilized in the effort to apprehend fugitive
23    defendants”); see also Morton v. Cnty. of San Diego, No. 21-CV-1428, 2024 WL
24    3205395, at *1 (S.D. Cal. June 26, 2024) (finding that “compelling reasons exist” to
25    seal exhibits “consist[ing] of confidential law enforcement documents and reports”).
26           So too here. The public disclosure of the information that Defendants seek to
27    seal information “could enable individuals to alter their patterns of conduct, adopt

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1     new methods of operation, and effectuate other countermeasures to circumvent the
2     inspection process” or “allow for bad actors to modify their behavior upon
3     encountering CBP.” Declaration of Matthew Davies ¶ 15, Ex. 1. This, in turn, could
4     “undermine law enforcement techniques, and, consequently, the law.”         Id. This
5     showing goes beyond “[s]imply mentioning a general category of privilege,”
6     Kamakana, 447 F.3d at 1184, and instead provides specific and compelling reasons
7     to seal the information.
8           Moreover, Defendants have only sought to seal several sentences and the
9     value of a handful of data fields, in just two out of the five government records that
10    Plaintiffs have attached to their motions.2 To the extent that there is any public
11    interest in the records, that interest is met by Defendants’ decision to permit much
12    of the records to be publicly filed. Defendants’ sealing request is thus “narrowly
13    tailored to only sealable material” and should be granted. Nightingale, 507 F. Supp.
14    3d at 1213.
15          And even if the Court were to find that compelling reasons did not exist, the
16    law enforcement interests at issue here certainly satisfy the lower “good cause”
17    standard. See Kamakana, 447 F.3d at 1180 (noting that under Fed. R. Civ. P. 26(c)
18    good cause exists when required to “protect a party or person from annoyance,
19    embarrassment, oppression, or undue burden or expense”).
20                                      CONCLUSION
21          For the foregoing reasons, Defendants respectfully request that the Court
22    GRANT the Application to Seal the limited information that Defendants seek to seal.
23    Dated: May 6, 2025
24                                           Respectfully submitted,
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            2
27            Defendants have made other redactions under the law enforcement
      privilege, but those redactions are not at issue in this motion to seal.
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